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      6 Attorneys for UNITED STATES OF AMERICA

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      8                                     IN THE UNITED STATES DISTRICT COURT

      9                                         EASTERN DISTRICT OF CALIFORNIA

     10

     11   UNITED STATES OF AMERICA,                               CASE NO. 2:10-cr-00191 JAM
     12                                         Plaintiff,        AMENDED STIPULATION AND
                                                                  ORDER TO CONTINUE TRIAL
     13   v.                                                      DATE TO JULY 23, 2012
     14   CHERYL PETERSON, et al.,
     15                                         Defendants.
     16

     17             The United States, through the undersigned counsel of record, and defendant Cheryl

     18 Peterson, through her undersigned counsel of record, hereby stipulate and respectfully request the

     19 Court continue the trial date to July 23, 2012.

     20             The matter is currently set for trial on May 7, 2012 against Peterson on charges of conspiracy

     21 to commit mail fraud and eight substantive counts of mail fraud. (Co-defendants Darrin Johnston

     22 and Todd Smith are set to plead on April 24, 2012.) Defense counsel has indicated that he needs

     23 additional time to review the escrow and lender files that are in the possession of the investigating

     24 agent in the Redding FBI field office. The United States is in the process of making arrangements

     25 for review of these records.

     26             Further, taking into account the review of these documents, defense counsel anticipates

     27 further investigation may be necessary with respect to potential defenses. The United States accepts

     28 defense counsel’s representations that he needs additional time to prepare for his client’s defense.
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      1 The parties also anticipate that this additional time may result in further discussions regarding

      2 resolution of this matter. For all of these reasons, the parties agree that there is good cause to

      3 continue the trial date to July 23, 2012, which the parties understand is available on the Court’s

      4 calendar. Therefore, the parties respectfully request that the Court grant Defendant’s request for a

      5 continuance to July 23, 2012, with a trial confirmation hearing set for June 19, 2012 at 9:30 a.m.

      6          The parties further stipulate and agree that the ends of justice to be served by granting the

      7 requested continuance outweigh the best interests of the public and the defendant in a speedy trial.

      8 The parties, through their respective counsel, hereby stipulate and request that the time period from

      9 May 7, 2012, to July 23, 2012, should be excluded under the Speedy Trial Act, 18 U.S.C.

     10 §3161(h)(7)(A) and (B)(iv), and Local Code T4, due to the need to provide defense counsel with the

     11 reasonable time to prepare.

     12          IT IS SO STIPULATED.

     13                                                                  Respectfully submitted,

     14 DATED: April 19, 2012                                            BENJAMIN B. WAGNER
                                                                         United States Attorney
     15
                                                               By:       /s/ Todd A. Pickles
     16                                                                  TODD A. PICKLES
                                                                         Assistant U.S. Attorney
     17
          DATED: April 19, 2012                                          DANIEL BRODERICK
     18                                                                  Federal Public Defender
     19                                                        By:       /s/ Todd A. Pickles for
                                                                         DOUGLAS BEEVERS
     20                                                                  Assistant Federal Public Defender
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      1                                                        ORDER

      2          This matter came before the Court on the parties’ stipulation to continue the trial date to July

      3 23, 2012. The Court ADOPTS the stipulation and finds good cause to continue the date.

      4 Accordingly, IT IS HEREBY ORDERED THAT:

      5          1. The trial in this matter is continued from May 7, 2012 to July 23, 2012 at 9:00 a.m., with

      6               a trial confirmation hearing set for June 19, 2012 at 9:30 a.m.; and

      7          2. The time between May 7, 2012 to July 23, 2013 is excluded under the Speedy Trial Act,

      8               18 U.S.C. §3161(h)(7)(A) and (B)(iv), and Local Code T4, due to the need to provide

      9               defense counsel with the reasonable time to prepare. The Court finds that the ends of

     10               justice to be served by granting the requested continuance outweigh the best interests of

     11               the public and the defendant in a speedy trial.

     12          IT IS SO ORDERED.

     13 DATED: April 19, 2012

     14
                                                                     /s/ John A. Mendez_______
     15                                                              Hon. John A. Mendez
                                                                     United States District Judge
     16                                                              Eastern District of California
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